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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION


                                               )
STATE OF TEXAS,                                )
STATE OF MISSOURI,                             )
                                               )
       Plaintiffs,                             )
                                               )
       v.                                      )    Civil Action No. 2:21-cv-00067-Z
                                               )
 JOSEPH R. BIDEN, JR.,                         )
 in his official capacity as                   )
 President of the United States, et al.,       )
                                               )
       Defendants.                             )
                                               )

                                           CERTIFICATION
       My name is Juliana Blackwell. I am employed with the U.S. Department of Homeland
Security, as the Deputy Executive Secretary. I am responsible for the oversight and management
of the Office of the Executive Secretary, which oversees the management of written
communication intended for, and originated by, the Secretary and Deputy Secretary of Homeland
Security and maintains official Department records. I have held this position since August 2019.
       I am the custodian of the Migrant Protection Protocols documents and the administrative
record for those decisions for DHS. I certify that, to the best of my knowledge, information, and
belief, the attached corrected index contains the non-privileged documents considered by DHS,
and that these documents constitute the administrative record the agency considered.
       Executed this 19th day of July, 2021 in Washington, D.C.




                                                                   _______________________
                                                                   Juliana Blackwell
                                                                   Deputy Executive Secretary
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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                      AMARILLO DIVISION


                                                              )
STATE OF TEXAS,                                               )
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